Case 20-30608     Doc 851-4      Filed 10/18/21 Entered 10/18/21 23:57:02                Desc Exhibit
                                     1 pt 4 Page 1 of 3

    19-0074M
    WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

     Jobsite                       Years        Defeodant: Products
                                                WTI-RUST HOLDINGS, INC.f/k/a RUST INTERNATIONAL
                                                INC., a DELAWARE CORPORATION,in their own right, and
                                                as Successor- in-Interest to M.W. KELLOGG COMPANY and
                                                the SWINDELL RUST DIVISION: Asbestos Containing
                                                Pipecovering, Block Insulation, Furnaces, Refractory Brick,
                                                Insulation, Castables, Cement, Gunning Materials, and
                                                Other Asbestos Containing Materials
                                                SPRINKMANN SONS CORPORATION OF WISCONSIN:
                                                Asbestos Containing Pipe Covering, Block, Spray, Blankets,
                                                Mastics, Cement and Other Asbestos Containing Products
                                                and Equipment
                                                McMASTER-CARR SUPPLY COMPANY: Asbestos Containing
                                                Pipe Covering, Block, Spray, Blankets, Mastics, Cements,
                                                Gaskets, Packings and Other AsbestOs Containing Products
                                                and Materials
                                                AFC-HOLCROFT, LLC, Individually, and as Successor-in-
                                                Interest to HOLCROFT: Asbestos Containing Furnaces,
                                                Ovens, Block, Board, Brick, Cements, Cement Pipe, Gaskets,
                                                Insulation, Pipecovering, Refractory, and Other Asbestos
                                                Containing Materials
                                                AFC-HOLCROFT, LLC, Individually, and as Successor-in-
                                                Interest to PACIFIC INDUSTRIAL FURNACE COMPANY
                                               (PIFC0): Asbestos Containing Furnaces, Ovens, Block,
                                                Board, Brick, Cements, Cement Pipe, Gaskets, Insulation,
                                               Pipecovering, Refractory, and Other Asbestos Containing
                                                Materials
                                               AMERON INTERNATIONAL CORPORATION: Asbestos
                                               Containing Bondstrand Pipe, Gaskets, Pipe, Phenolic Resin,
                                               and other Asbestos Containing Materials
                                               AMERON INTERNATIONAL CORPORATION, Individually,
                                               and as Successor-in-Interest to BONDSTRAND, LTD.:
                                               Asbestos Containing Bondstrand Pipe, Gaskets, Pipe,
                                               Phenolic Resin, and other Asbestos Containing Materials
                                               CHAMPLAIN CABLE CORPORATION, Individually and as
                                               Successor-in-Interest to AMERICAN SUPER TEMPERATURE
                                               WIRE, Successor-in-Interest to HAVEG INDUSTRIES, INC. "
                                               and Successor-by-Merger to HAVEG CORPORATION:
                                               Chemtite Pipe, Haveg Pipe and Other Asbestos Containing
                                               Products and Equipment
                                               CHICAGO-WILCOX MANUFACTURING COMPANY: Asbestos
                                               containing gaskets, packings, seals, and other asbestos
                                               containing materials
                                               ELECTROLUX HOME PRODUCTS,INC., as Successor-in-
                                               Interest to BLAW-KNOX CONSTRUCTION EQUIPMENT
                                               MANUFACTURING CORPORATION: Asbestos Containing



                                            Page 43 of 45




                                                                                            DEBTORS_00009119
Case 20-30608     Doc 851-4     Filed 10/18/21 Entered 10/18/21 23:57:02                 Desc Exhibit
                                    1 pt 4 Page 2 of 3

   19-0074M
   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

    Jt)bsite                      "Years       Deferldant:Products
                                                Brakes, Clutches, Gaskets, Cranes, Hoists, Earthmovers, and
                                               other Asbestos Containing Products and Equipment
                                                F.B. WRIGHT COMPANY,A MICHIGAN CORPORATION:
                                                Asbestos Containing Pipecovering, Block, Insulation,
                                                Cement, Refractory, Castables, Brick, Gaskets, Packings,
                                                and Other Asbestos Containing Materials
                                                FLOWSERVE US INC., a.k.a. FLOWSERVE PUMP CORP.,
                                                Individually, and as Successor-in-Interest to ALDRICH
                                               PUMP COMPANY: Asbestos Containing Pumps, Gaskets,
                                               Packing, Cement, Insulation, and other Asbestos Containing
                                                Materials
                                               GARDNER DENVER, INC., Individually, and as Successor-in-
                                               Interest to NASH ENGINEERING COMPANY: Asbestos
                                               Containing Pumps, Gaskets, Packing, Cement, Insulation,
                                               and other Asbestos Containing Materials
                                               INTERLINE BRANDS, INC., f/k/a WILMAR INDUSTRIES,
                                               INC.: Asbestos Gaskets, Packings and Other Asbestos
                                               Containing Products and Equipment
                                               INTERLINE BRANDS, INC., Individually and as Successor-in-
                                               Interest to WILMAR INDUSTRIES, INC.: Asbestos Gaskets,
                                               Packings and Other Asbestos Containing Products and
                                               Equipment
                                               ITT INDUSTRIES, INC., Individually, and as Successor-in-
                                               Interest to McDonnell & Miller, Inc.: Asbestos Containing
                                               Pumps, Valves, Insulation, Gaskets, Packing, and other
                                               Asbestos Containing Materials
                                               J.A. SEXAUER, INC., A NEW YORK CORPORATION: Asbestos
                                               Containing Gaskets, Packings, Seals, and Other Asbestos
                                               Containing Materials
                                               RIC-WIL, INCORPORATED: Asbestos Containing Pre
                                               Insulated Pipe and Conduit
                                               ROGER ZATKOFF-COMPANY: Asbestos Containing-Gaskets,
                                               Packings, Rope, Seals and other Asbestos Containing
                                               Materials
                                               SEALITE, INC.: Asbestos Containing White Oakum and other
                                               Asbestos Containing Materials
                                               STANDARD FUEL ENGINEERING COMPANY: asbestos
                                               containng zerobestos cement, cements, refractory,
                                               castables, and other asbestos containing materials
                                               UNION PUMPS COMPANY f/k/a David Brown Union Pump
                                               Company: Asbestos Containing Pumps, Morris Pumps,
                                               Packings, Gaskets, Block, Cement, Pipe Covering and Other
                                               Asbestos Containing Products and Equipment
                                               WATTS REGULATOR COMPANY: Asbestos Containing
                                               Pumps, Valves, Insulation, Gaskets, Packing, and other
                                               Asbestos Containing Materials


                                           Page 44 of 45




                                                                                            DEBTORS_00009120
Case 20-30608     Doc 851-4       Filed 10/18/21 Entered 10/18/21 23:57:02               Desc Exhibit
                                      1 pt 4 Page 3 of 3

   19-0074M
   WANDA M. HELLMER, Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

    Jobsite                        Years        Defendant Products
                                                WELTON RUBBER COMPANY,Individually, and as
                                                Successor-In-Interest to WELTON RUBBER AND ASBESTOS
                                                COMPANY: Asbestos Containing Gaskets, Packings,
                                                Adhesives, Tapes, Molded Plastics, Hoses, and Other
                                                Asbestos Containing Materials
                                                WILMAR INDUSTRIES, INC., Individually and Successor-in-
                                                Interest to SEXAUER,INC.: Asbestos Gaskets, Packings and
                                                Other Asbestos Containing Products and Equipment

    Jobsite                        Years        Defendant: Products
    Home Remodeling & Additions    1958-1979    H.B. FULLER COMPANY: Benjamin Foster Mastics,
                                                Compounds, Cement, Thin Set Cement and Other Asbestos
                                                Containing Products
                                                U NION CARBIDE CORPORATION: Asbestos Containing
                                                Bakelite, Paper, Felt, Roll, Raw Asbestos Fibers and Other
                                                Asbestos Containing Products
                                                DAP, INC.: Asbestos Compounds and Other Asbestos
                                                Containing Products

    Jobsite                        Years       Defendant Products
    Automotive Repairs to          1958-1979    DANA COMPANIES, LLC: Asbestos Containing Victor
    Personal, Family Members' &                 Gaskets and Asbestos Containing Gaskets
    Friends' Vehicles                           FEDERAL-MOGUL U.S. Asbestos Personal Injury Trust, as
                                                Successor to the former Vellumoid division of FEDERAL-
                                                MOGUL: Asbestos Containing Gaskets
                                                FEDERAL-MOGUL U.S. Asbestos Personal Injury Trust, as
                                                Successor to FELT-PRODUCTS MANUFACTURING CO.:
                                                Asbestos Containing Gaskets and Seals
                                                PNEUMO-ABEX, as Successor-in-Interest to ABEX
                                                CORPORATION: Asbestos Brake Linings, Clutches, Brake
                                               .Blocks_and_Other_Asbestos_Containing_Products and
                                                Equipment
                                                BORG WARNER MORSE TEC LLC, as Successor-by-Merger
                                                to BORG-WARNER CORPORATION: Asbestos Clutches,
                                                Brake Linings, Brake Shoes, Pressure Plates and Other
                                                Asbestos Containing Products and Equipment
                                                GENUINE PARTS CO.: Friction Products and Other Asbestos
                                                Containing Products
                                                TENNECO, INC.: Asbestos Containing Brakes, Linings,
                                                Clutches, Gaskets and Other Asbestos Containing Products




                                           Page 45 of 45




                                                                                            DEBTORS_00009121
